N DEPARTMENT

 

of INSURANCE SERVICE OF PROCESS
MIKE CAUSEY, COMMISSIONER Tel 919.716.6610 Fax 919.716.6757
9 July 2021
CERTIFIED MAIL

RETURN RECEIPT REQUESTED
Palomar Specialty Insurance Company
7979 Ivanhoe Avenue, Suite 500
La Jolla, CA 92037
Re: The Colony Club at Landfall Homeowners’ Association, Inc.
vs.
Palomar Specialty Insurance Company

Dear Corporate Secretary:

Enclosed herewith are document[s] entitled Civil Summons and Complaint [Jury Trial
Demanded] in the above action which this Department received on July 2, 2021.

Mike Causey
Commissioner of Insurance

A »Y

      
 
  

_—
Courtney H. Ethridge
Special Deputy for
Service of Process

Enclosure

Case_7:21-cv-00142-FL Document 1-3Filed-08/13/21 _Page-1-of 19
1201 MAIL SERVICE CENTER | RALEIGH, NC 27699-1201 | WWW.NCDOI.COM
N DEPARTMENT
of INSURANCE SERVICE OF PROCESS

MIKE CAUSEY, COMMISSIONER Tel 919.716.6610 Fax 919.716.6757

 

The Colony Club at Landfall Homeowners’ Association, Inc.

a New Hanover Co. File No. 21 CVS 02374

Palomar Specialty Insurance Company

I, Courtney H. Ethridge, a Special Deputy duly appointed for the purpose, do hereby accept service
of the Civil Summons and Complaint [Jury Trial Demanded] in this action and acknowledge
receipt of a copy of the same, under the provision of the North Carolina General Statute Section 58-

16-30 as process agent for Palomar Specialty Insurance Company.

This the 2nd day of July, 2021.

Mike Causey
Commissioner of Insurance

[ tsi) LAST
. / 0
Courtney H. Ethridge
Special Deputy for

Service of Process

   

/

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STATE OF NORTH CAROLINA

NEW HANOVER County

 

> File No.

In The General Court Of Justice

 

 

(_] District Superior Court Division
Name Of Plaintiff
THE COLONY CLUB AT LANDFALL HOMEOWNERS'
nae CIVIL SUMMONS

ASSOCIATION, INC., 1700-1753 Signature Place

 

City, State, Zip

Wilmington NC 28405

[_] ALIAS AND PLURIES SUMMONS (ASSESS FEE)

 

VERSUS

G.S, 1A-1, Rules 3 and 4

 

Name Of Defendant(s)
PALOMAR SPECIALTY INSURANCE COMPANY

Date Original Summons Issued

 

Date(s) Subsequent Summons(es) Issued

 

To Each Of The Defendant(s) Named Below:

 

Name And Address Of Defendant 1
PALOMAR SPECIALTY INSURANCE COMPANY

c/o North Carolina Commissioner of Insurance Agent for Service
1201 Mail Service Center
Raleigh

NC 27699-1201

Name And Address Of Defendant 2

 

 

IMPORTANT! You have been sued! These papers are legal documents, DO NOT throw these papers out!
You have to respond within 30 days. You may want to talk with a lawyer about your case as soon as
possible, and, if needed, speak with someone who reads English and can translate these papers!

jIMPORTANTE! jSe ha entablado un proceso civil en su contra! Estos papeles son documentos legales.

jNO TIRE estos papeles!

Tiene que contestar a mas tardar en 30 dias. jPuede querer consultar con un abogado lo antes posible
acerca de su caso y, de ser necesario, hablar con alguien que lea inglés y que pueda traducir estos

documentos!

A Civil Action Has Been Commenced Against You!

You are notified to appear and answer the complaint of the plaintiff as follows:

1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiff's attorney within thirty (30) days after you have been
served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiff's last known address, and

2. File the original of the written answer with the Clerk of Superior Court of the county named above.

If you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the complaint.

 

Name And Address Of Plaintiff's Attorney (if none, Address Of Plaintiff)
H. Forest Horne, Esq.

MARTIN & JONES, PLLC

4140 Parklake Avenue, Suite 400

Raleigh NC

Date issued

VW: |": Saar om

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A eputy csc

 

jal Assistant CSC fia] Clerk Of Superior Court

 

 

 

{_] ENDORSEMENT (ASSESS FEE)
This Summons was originally issued on the date indicated
above and returned not served. At the request of the plaintiff,
the time within which this Summons must be served is
extended sixty (60) days.

 

 

 

 

Date Of Endorsement Time
[Jam [Jem
Signature
(el Deputy CSC fE] Assistant CSC faa Clerk Of Superior Court

 

NOTE TO PARTIES: Many counties have MANDATORY ARBITRATION programs in which most cases where the amount in controversy is $25,000 or
less are heard by an arbitrator before a trial. The parties will be notified if this case is assigned for mandatory arbitration, and, if

so, what procedure is to be followed.

(Over)

AOC-CV-100, Rev. 4/18
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A TRUE COPY
CLERK OF SUPERIOR COURT

NEW HANOVER COUNTY
gy: Lindsay £. Fau

Case 7:21-cv-00142-FL Document 1-3 Filed 08/13/2%* PaYe's' GP
 

RETURN OF SERVICE

 

| certify that this Summons and a copy of the complaint were received and served as follows:

 

DEFENDANT 1

 

Date Served Time Served Name Of Defendant

[jam []pm

 

 

 

|] By delivering to the defendant named above a copy of the summons and complaint.

[_] By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
person of suitable age and discretion then residing therein.

{_] As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
below.

 

| Name And Address Of Person With Whom Copies Left (if corporation, give title of person copies left with)
|
|

 

[_] Other manner of service (specify)

 

[_] Defendant WAS NOT served for the following reason:

 

DEFENDANT 2

 

Date Served Time Served Name Of Defendant

[Jam [“]Pm

 

 

[_] By delivering to the defendant named above a copy of the summons and complaint.

[_] By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
person of suitable age and discretion then residing therein.

[_] As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
below.

 

| Name And Address Of Person With Wham Copies Left (if corporation, give title of person copies left with)

|
|

 

{_] Other manner of service (specify)

 

{_] Defendant WAS NOT served for the following reason:

 

 

 

Service Fee Paid Signature Of Deputy Sheriff Making Return
Date Received Name Of Sheriff (type or print)
Date Of Return Gounty Of Sheriff

 

 

AOC-CV-100, Side Two, Rev. 4/18
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STATE OF NORTH CAROLINA ~ "~~ “~"" IN THE GENERAL COURT OF JUSTICE
| wus 21 A 53 SUPERIOR COURT DIVISION
COUNTY OF NEW HANOVER” CASE NO.
NEW HANOVER CO. C.$.C.
THE COLONY CLUB AT LANDFALL ile
HOMEOWNERS’ ASSOCIATION, INC.,
Plaintiff, COMPLAINT

(Jury Trial Demanded)
v.

PALOMAR SPECIALTY INSURANCE
COMPANY;

Defendant.

 

 

Plaintiff, The Colony Club at Landfall Homeowners Association, Inc., (hereafter “Colony
Club HOA”) complaining of Defendant Palomar Specialty Insurance Company (hereafter
“Palomar Insurance”), alleges the following:

NATURE OF ACTION AND RELIEF SOUGHT

l. On or about September 9, 2019, a powerful hailstorm (hereafter “the hailstorm”)
hit the North Carolina coast and inland areas of Wilmington, North Carolina, specifically in and
around the location of the multi-family dwelling homes which belong to the Colony Club HOA.
The Colony Club HOA procured insurance for the Colony Club homes which were members of
the HOA and which are located at 1700-1753 Signature Place, Wilmington, NC 28405. The
Colony Club homes were extensively damaged by the hailstorm. Prior to the hailstorm,
Defendant Palomar Insurance contracted with The Colony Club HOA to insure the Colony Club
homes against storm damage, including damage caused by hailstorms. After the hailstorm, a
claim was made on behalf of the Colony Club HOA with Defendant Palomar Insurance.

Defendant Palomar Insurance thereafter denied the claim and refused to compensate Colony

A TRUE COPY
CLERK OF SUPERIOR COURT
NEW HANOVER COUNTY
BY: Lindsay E. Faulk,

| higher
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Club HOA and its homeowner members for the damage to their homes and the benefits due

under the insurance contract, including undisputed portions of the claim for the hailstorm

damage.

 

Ex. A — Arial view of The Colony Club at Landfall
PARTIES

2. The Colony Club HOA is a North Carolina non-profit corporation with insured
property located in Wilmington, North Carolina.

3. Defendant Palomar Insurance, upon information and belief, is an Oregon
corporation and is licensed to sell insurance in North Carolina.

4, At all times pertinent hereto, Defendant Palomar Insurance has been involved in
the issuance, marketing, selling, and delivery of insurance policies in North Carolina, including
issuing policies insuring property and interests of North Carolina homeowners as described in
N.C. Gen. Stat. §58-3-1, and the policy at issue insuring the Colony Club HOA and the homes

that are a part of Colony Club HOA.

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JURISDICTION AND VENUE

5, This Court has subject-matter jurisdiction over the claims asserted herein pursuant
to N.C. Gen. Stat. §§ 7A-240 & 7A-243. The claims are civil in nature and the amount in
controversy exceeds twenty-five thousand dollars ($25,000).

6. Personal jurisdiction over Defendant is conferred upon and vested in this Court by
virtue of N.C. Gen, Stat. § 1-75.4(1)(d), as Defendant is engaged in substantial activity within
North Carolina, and N.C. Gen. Stat. § 1-75.4(10)(a) and (b), as this matter arises out of a contract
of insurance between Defendant Palomar Insurance and Colony Club HOA in North Carolina at

all relevant times and the hailstorm is the underlying event out of which Colony Club HOA’s

 

claims arise.
7. Venue is proper in this Court pursuant to N.C. Gen. Stat. § 1-82.
STATEMENT OF FACTS
8. Colony Club is a residential multi-family complex, located at 1700-1753

Signature Place, Wilmington, North Carolina (“insured property”), and is comprised of
seventeen buildings containing forty-three dwelling units.

9, On and before September 9, 2019, Colony Club’s insured property was insured by
Defendant Palomar Insurance against damage, including, inter alia, hailstorm damage.

10. On or about September 9, 2019, Wilmington, North Carolina experienced the
hailstorm which was described as “[a] cluster of severe thunderstorms developed across
southeastern North Carolina during the afternoon of September 9, dropping hail up to one inch in
diameter in Wilmington. Strong wind gusts damaged trees and roofs in Wilmington...”!

“Hazards include 60 mph wind gusts...”? “Doppler radar detected Quarter size hail... [T]he

 

' https://www.weather.gov/ilm/2019ClimateSummary (last visited on February 2, 2021).
? http://www. interactivehailmaps.com/local-hail-map/wilmington-nc/ (last visited on February 2, 2021).

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entire storm produced hail for roughly 4 hour(s).”> The expected fall speed of such hail is up to
40 mph.* Reportedly, 5,474 households were impacted by one inch or larger hail.) An estimated
40,556 buildings were in the affected area.°

ll. The direct force of the hailstorm caused hail to collide with Colony Club’s
insured property and specifically the copper roofs of the homes in Colony Club.

12. As adirect and proximate result of the above, Colony Club’s insured property was
damaged, primarily damaging the copper roofs on the Colony Club homes.

13. Prior to the September 9, 2019, landfall of the hailstorm, Defendant Palomar
Insurance contracted with the Colony Club HOA to insure the Colony Club’s property against
windstorm and hailstorm damage for consideration received, as evidenced by the insurance
policy numbered CPARP-XX-XXXXXXX-00 (“Policy”).

14. Prior to September 9, 2019, the Colony Club HOA was the named insured on said
policy of insurance, and that on September 9, 2019, said policy was in full force and effect.

Ld. The issuance of this insurance policy by Defendant Palomar Insurance created a
binding contract of insurance between the Colony Club HOA and the Defendant Palomar
Insurance and gave rise to the contractual relationship between the Colony Club HOA and the
Defendant Palomar Insurance.

16. On or about October 2, 2019, Colony Club’s hailstorm damage insurance claim
was submitted to Defendant Palomar Insurance.

17. Defendant Palomar Insurance assigned Stephen Kotzin of Sedgwick adjusters to

inspect the property and investigate Colony Club’s claim and hailstorm damage.

 

3 http://maps. hailstrike.com/hail-report/north-carolina/wilmington-nc-09-09-2019/ (last visited on February 2, 2021).
* https://www.nssl.noaa.gov/education/svrwx10|/hail/ (last visited on February 2, 2021).

* http://www. interactivehailmaps.com/hail-map/september-9-2019/ (last visited on February 2, 2021).

® http://maps.hailstrike.com/hail-report/north-carolina/wilmington-nc-09-09-2019/ (last visited on February 2, 2021)

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18. Vincent F. Fratinardo of YA Engineering Services (“Y AES”) inspected the

insured property on March 18 and 19, 2020. YAES submitted its findings in a storm damage

evaluation report and then supplemented that report on December 7, 2020, more than a year after

the claim was reported.

19. The YAES report includes, but is not limited to, the following observations:

a.

In summary, hail related indentations were detected on slopes in all four
cardinal orientations. ..;

{M]ore frequent [hail related indentations were detected] on west and
southwest facing slopes...;

The large hail indentations, identified by concave dimples in the panel
surface, measured less than 1-inch diameter, the majority measured % inch
diameter...;

[T]he number of raised protrusions exceeded the number of hail
indentations. ..;

Frequency of hail related indentations varied among vents, but it was
estimated that each vent had as least one round shaped indentation attributed
to hail impacts...;

The hail related indentations measured less than 1-inch diameter, and were
free from scratches, splits and creases;

Figure 12. Building 1700-1702 test area (east slope); 1 hail indentation...;
Figure 14. Building 1737-1739-1741 test area (north slope); 1 hail

indentation. ..;

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s.

Figure 15. Building 1724-1728-1728 test area (southwest slope); 11 hail
indentations;

Figure 16. Building 1751-1753. %-inch diameter round indentation;

Figure 17. Building 1708-1710. %-inch diameter round indentation;

Figure 28. Building 1700-1702. Hail indented power vent cap, one indent;
Figure 29. Building 1730-1732. Hail indented power vent cap, frequent
indents;

Figure 30. Building 1708-1710. Hail indented roof vent, frequent indents;
Figure 31. Building 1719-1723. Hail indented roof vent, one indent;

The building copper standing seam roof coverings exhibited hail indentations.
Indentations were noted on roof slopes in all four cardinal orientations, but
dominant on west and southwest facing slopes;

YAES did find physical evidence of hail indentations to the copper standing
seam roof panels, as noted in this report; and

The building copper standing seam roof covering exhibited hail indentations.

20. | YAES observed hail damage to Colony Club’s roofs and reported its findings to

Sedgwick and Defendant Palomar Insurance.

21. | Nevertheless, Defendant Palomar Insurance unreasonably and improperly relied

upon the YAES report to deny coverage. On December 30, 2020, Defendant declined coverage

in its entirety.

22. Defendant Palomar Insurance knew, or should have known, that YAES

unreasonably investigated certain components of the claim. First, by relying on the YAES report,

Defendant Palomar Insurance deviated from the plain terms of coverage bargained for. YAES

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determined that “the hail indentations are not functional damage that reduces the service life of
the components [to the roof].... Therefore, the hail related distress was limited to cosmetic
distress only.” Assuming arguendo that YAES were correct, i.e., that the damage was cosmetic
and not functional (which it is not), such a finding is irrelevant to the policy’s plain terms of
coverage. The policy covers “direct physical loss unless the loss is excluded or limited” in the
policy. The policy provides no exclusion, limitation, or exception requiring that damage be non-
cosmetic or functional. While some policies exclude cosmetic damage to roofing systems or
property, this one did not. Defendant Palomar Insurance narrowed coverage and broadened the
exclusions in a manner not contemplated in the policy when it relied on the YAES report.

23. | Second, the YAES report obviously deviated from industry standard in the
manner that it measured the extent and severity of hail damage. Insurance industry standard
requires that hail impacts be counted in 10’ by 10’ test squares (100 square feet). By most
insurance industry and storm evaluation practices, the threshold for finding sufficient damage to
warrant full roof or slope replacement is in the neighborhood of 5 to 10 hail indentations per 100
square foot test square. YAES, however, used 2.83’ by 2.83” (8 square feet) test squares. This
practice is not supported by any known insurance industry practice and was intended to
misrepresent the severity of the hail impacts that YAES did acknowledge. Adjusting YAES’s
unfounded use of 8 square foot test squares for the 100 square foot industry standard, YAES’s
test square samples average 38 hail indentations per 100 square feet—a figure well beyond the
industry standard threshold requiring full roof replacement. Defendant Palomar and its agents
knew that YAES’s report unreasonably misrepresented the extent of hail damage, and
unreasonably relied on YAES’s test square samples in order to provide a pretext for denying

coverage.

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24. —‘ Third, and again against industry standard practice, YAES relied on inconclusive
weather data to draw conclusions without merit. YAES reported that there was no evidence of
hail activity in New Hanover County on September 9, 2019. Mr. Fratinardo of YAES based this
conclusion on the National Oceanic and Atmospheric Administration’s NCEI storm events
database. This database is a catalog of reported storm events by trained storm spotters and others
that is compiled by the US Government. The data is only accurate to the extent that a spotter is
present in a specific location and to the extent that the spotter reports the information to the
NCEI. While the NCEI database is commonly used in the adjusting and forensic engineering
industry to demonstrate that hail did fall in a given location, it cannot be used to determine that
hail did not fall in a given location. Indeed, if hail falls in a forest and there is nobody there to
report it to the NOAA NCEI, the hail will still have fallen, nonetheless. In order to mask the
extent and severity of hail on September 9, 2019, YAES, Sedgwick, and Defendant Palomar
Insurance Company improperly relied on the NCEI while ignoring other NOAA radar based
resources that did show hail falling at the property and in New Hanover County on September 9,
2019.

25. Defendant Palomar Insurance, in possession of the YAES reports, possessed
knowledge of the storm damage personally observed by its agents at the insured Colony Club
property and manufactured a pretext for denying coverage by deviating from the four corners of
the policy, misrepresenting the number of hail indentations observed, and intentionally relying
on inconclusive weather data while ignoring other more conclusive resources.

26. Even a rudimentary search of social media reveals that hail fell in New Hanover

County on September 9, 2019.

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efi US National Weather Service =a Alycia Marshall

Matt McGraw is at ParkingDeckOn *“** Shane Easter

“=~ Wilmington 0H ® Sep 9, 2019 -@ Market Level. Sep 10, 2019 @
Sep 1, 2019 -@ A tornado warming and HAIL! Sep 9, 2019 Wilmington, NC. @ Hey guys, if anyone was in the path of the hail
Isolated severe storms are possible this Well ok Wilmington Weather nerd alert! It was exciting until the hail storm in Wilmington yesterday, let me know you

  
  

afternoon and early evening. Damaging winds
and large hail are main threats. Heavy rain and
flooding is also possible!

started. need a FREE roof inspection!

   
        

 
 
  

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Sep 9, 2019 -@

 
   
 

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27. However, in Defendant Palomar Insurance’s December 30, 2020 denial letter, it
states that “Mr. Fratinardo could not verify any hail event in the Wilmington area on September
9, 2019.... There is insufficient evidence to support that any hail damage occurred at Colony
Club on September 9, 2019...” Consequently, Defendant Palomar Insurance denied coverage for

the claim entirely.

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28. Over a year after the hailstorm made landfall in Wilmington, the subsequent
property damage, mitigation, inspections, reports, estimates, denial of insurance benefits, and re-
inspection, Defendant Palomar Insurance refused to compensate Colony Club HOA for benefits
due under the insurance contract.

29. At all times relevant hereto, all Defendant Palomar Insurance’s servants, agents,
or employees were acting within the course and scope of said service, agency, employment,
thereby making Defendant Palomar liable for acts or omissions of Sedgwick.

30. Despite possession of the YAES report that did verify hail damage to the property
(albeit manipulating data regarding severity in a manner obvious to Defendant Palomar
Insurance), other information, and access to publicly available information detailing the
hailstorm damage, Defendant Palomar Insurance has wrongfully denied the insurance claim of
Colony Club HOA.

31. | Defendant Palomar Insurance refused and still refuses to fully compensate
Plaintiff for benefits due under the insurance contract for the Plaintiff's losses and damages.

FIRST CLAIM FOR RELIEF
(Breach of Contract Against Defendant Palomar Insurance)

32. The foregoing allegations are re-alleged and incorporated herein.

33. Atall times relevant, Colony Club HOA had a valid contract of insurance with
Defendant Palomar Insurance, whereby Colony Club HOA agreed to pay and did pay premium
payments to Defendant Palomar Insurance in exchange for its promise to indemnify Colony Club
HOA for its losses and damage including, but not limited to, the hailstorm damage.

34. Atall times relevant, Colony Club HOA was current on all premiums required

under the Palomar Policy and the Policy was in full effect.

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35. Beginning on September 9, 2019, the hailstorm caused hail and debris to collide
with the Colony Club’s insured property by direct force of wind and rain, damaging the Colony
Club homes.

36. As a direct and proximate result of the above, the Colony Club’s insured property
was damaged.

37. To mitigate the damage, the Colony Club HOA then contacted Storm Team
Construction to assess and address exterior and interior damage.

38. Plaintiffs loss was then reported to Defendant Palomar Insurance.

39. Plaintiff's loss was a Covered Cause of Loss under the policy.

40. Defendant Palomar Insurance wrongfully denied Plaintiff's claim for benefits.

41. | Defendant Palomar Insurance’s conduct as described above was in violation of
the insurance policy and constitutes a breach of contract.

42. As adirect and proximate result of Defendant Palomar Insurance’s breach of
contract, Colony Club has sustained damages as set forth herein.

43. Plaintiff is entitled to a judgment against Defendant Palomar Insurance for the full
amount of their actual damages and attorneys’ fees.

SECOND CLAIM FOR RELIEF
(Unfair and Deceptive Trade Practices Violation Against Defendant Palomar Insurance)

44. _ The foregoing allegations are re-alleged and incorporated herein.

45. “Unfair methods of competition in or affecting commerce, and unfair or deceptive
acts or practices in or affecting commerce, are declared unlawful.” N.C. Gen. Stat. Ann. § 75-

Ld.

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46, The sale of insurance in the State of North Carolina affects commerce within

North Carolina.

47. North Carolina recognizes a cause of action for Unfair and Deceptive Trade

Practices Act under N.C. Gen. Stat. § 75-1.1 (“UDTPA”) for conduct described by, in, and

outside N.C. Gen. Stat. § 58-63-15 (the “Unfair Claims Act”).

48. Defendant Palomar has engaged in unfair and deceptive trade acts and practices in

violation of the UDTPA by:

a.

Misrepresenting pertinent facts or insurance policy provisions relating to
coverages at issue;

Failing to acknowledge and act reasonably promptly upon communications
with respect to claims arising under insurance policies;

Failing to adopt and implement reasonable standards for the prompt
investigation of claims arising under insurance policies;

Refusing to pay claims without conducting a reasonable investigation based
upon all available information;

Failing to affirm or deny coverage of claims within a reasonable time after
proof-of-loss statements have been completed;

Not attempting in good faith to effectuate prompt, fair and equitable
settlements of claims in which liability has become reasonably clear;
Compelling the insured to institute litigation to recover amounts due under an
insurance policy by offering substantially less than the amounts ultimately

recovered in actions brought by such insured;

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h. Delaying the investigation or payment of claims by requiring an insured
claimant to submit a formal proof of loss form after receipt of two preliminary
claim report, both of which contain substantially the same information;

i. Failing to promptly settle claims where liability has become reasonably clear,
under one portion of the insurance policy coverage, in order to influence
settlements under other portions of the insurance policy coverage;

j. Failing to promptly provide a reasonable explanation of the basis in the
insurance policy in relation to the facts or applicable law for denial of a claim
or for the offer of a compromise settlement;

k. Failing to pay undisputed portions of Plaintiff's insurance claim;

l. Failing to pay benefits due under the Policy; and

m. Negligently, willfully, recklessly, unreasonably, without just cause, and/or in
bad faith refusing to pay benefits due under the Policy.

49. Under the Policy, Defendant Palomar Insurance owed to Colony Club HOA a
duty to act in good faith and to deal fairly.

50. By reason of Defendant Palomar Insurance’s conduct, Plaintiff directly and
proximately suffered actual damages including, but not limited to, loss of insurance benefits, loss
of use of insurance benefits, unnecessary litigation expenses, and other consequential damages as
set forth herein.

51. Plaintiff is entitled to a judgment against Defendant Palomar Insurance for the full
amount of their damages, including all actual and consequential damages.

52. Defendant Palomar’s conduct also warrants an award of treble damages pursuant

to N.C. Gen. Stat. Ann. § 75-16.

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53. Because of Defendant Palomar’s conduct, Plaintiff is entitled to an award of
attorneys’ fees against Defendant Palomar pursuant to N.C. Gen. Stat Ann. § 75-16.1.
PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully prays for the following:

A. A trial by jury on all claims so triable;

B. Actual, compensatory and treble damages;

GC, An award of attorney’s fees and costs, as provided by law;

D. Pre-judgment and post-judgment interest at the highest rate allowed by law; and

E. Such one and further relief as this Court may deem just, equitable, or proper.
dX

This the IX day of June, 2021.
Respectfully Submitted,

MARTIN & JONES, PLLC

BY II \ V %

H. Forest Horne, NCSB # 16678

Huntington M. Willis, NCSB # 46506

4140 Parklake Avenue, Suite 400

Raleigh, North Carolina 27612

Telephone: (919) 821-0005

Facsimile: (919) 863-6086

Email: hfh@m-j.com
hmw@m-j.com

DALY & BLACK, P.C.

Re tee

Richard D. Daly, TX Bar #00796429
(Pro Hac Vice To Be Filed)
James W. Willis, TX Bar # 24088654
(Pro Hac Vice To Be Filed)
2211 Norfolk St., Suite 800

BY

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Houston, Texas 77098
Telephone: (713) 655-1405
Facsimile: (713) 655-1587
Email: rdaly@dalyblack.com

ATTORNEYS FOR PLAINTIFF

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